Case 2:11-cr-00001   Document 426   Filed 10/02/12   Page 1 of 7 PageID #: 2332
Case 2:11-cr-00001   Document 426   Filed 10/02/12   Page 2 of 7 PageID #: 2333
Case 2:11-cr-00001   Document 426   Filed 10/02/12   Page 3 of 7 PageID #: 2334
Case 2:11-cr-00001   Document 426   Filed 10/02/12   Page 4 of 7 PageID #: 2335
Case 2:11-cr-00001   Document 426   Filed 10/02/12   Page 5 of 7 PageID #: 2336
Case 2:11-cr-00001   Document 426   Filed 10/02/12   Page 6 of 7 PageID #: 2337
Case 2:11-cr-00001   Document 426   Filed 10/02/12   Page 7 of 7 PageID #: 2338
